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GAS 455 (Rev. 1/11) Waiver of Indictment

United States District Court

SOUTHERN DISTRICT of GEORGIA

UNITED STATES OF AMERICA
v. WAIVER OF INDICTMENT

JC LONGORIA CASTRO
CASE NUMBER: 5:23-cr-7

I, JC Longoria Castro , the above named defendant, who is accused of

18 U.S.C. § 1956(a)(1)(A)(Gi) Money Laundering

being advised of the nature of the charge(s), the proposed information, and of my rights, hereby waive

in open court on 7/25/2023 prosecution by indictment and consent that the

proceeding may be by information rather than by indictment.

Ll AZ

defe: open

R Prarie

Counsel er Defendant

Judicial Officer

